             Case 4:18-cv-00342-KGB Document 93-3 Filed 12/02/19 Page 1 of 12




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                                                     July 26, 2019

    Matthew A. Kezhaya
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    Counsel for Satanic Temple Intervenors

             Re:     Cave v. Thurston, Case No. 4:18CV342 KGB

    Dear Matthew,

    I am in receipt of the Intervenors’ responses to the Defendant’s discovery requests. I am
    writing to confer in good faith on numerous issues because the Intervenors’ responses are
    egregiously deficient.

    First, I note that none of the responses the Intervenors have provided are signed. Please note
    that Fed. R. Civ. P. 33(b)(3) and (5) provide that interrogatories must be answered under
    oath and signed by the person who makes the answers.

    Second, the Intervenors’ particular responses are otherwise almost uniformly deficient.
    Please see the many issues described below. I highlight the fact that the Intervenors have
    refused to provide any of the documents that they identified in their initial disclosures or
    that they relied upon in making their allegations in the Amended Complaint.

    Please provide appropriate responses and produce all responsive documents as soon as
    possible, and in any case no later than Friday, August 9, 2019. If the Intervenors refuse to
    provide proper responses and production by that date, the Defendant will have no choice
    but to seek intervention of the Court. Thank you for your prompt attention to these matters.

    Interrogatories and RFPs to the Intervenors

            RFP No. 2 – This RFP requests that you produce a copy of every record to which
             you refer in the Amended Complaint or on which you rely in making your
             allegations in the Amended Complaint. You object on the basis of work product and

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        Case 4:18-cv-00342-KGB Document 93-3 Filed 12/02/19 Page 2 of 12
Page 2 of 12


       attorney-client privilege. But virtually by definition items that you rely on in making
       your allegations in the Amended Complaint cannot be work product or attorney-
       client privileged. Further, your objection on privilege grounds is deficient under Fed.
       R. Civ. P. 26(b)(5)(ii) for failure to “describe the nature of the documents,
       communications, or tangible things not produced or disclosed—and do so in a
       manner that . . . will enable other parties to assess the claim.” You have also failed to
       state whether any responsive materials are being withheld on the basis of your
       objection, as required. Fed. R. Civ. P. 34(b)(2)(C). Please provide all responsive
       documents.
      RFP No. 4 – This RFP requests that you produce a copy of every record to which
       you refer or on which you rely in making your initial disclosures. You object on the
       basis of work product and attorney-client privilege. But virtually by definition items
       that you rely on in making your initial disclosures cannot be work product or
       attorney-client privileged. Further, your objection on privilege grounds is deficient
       under Fed. R. Civ. P. 26(b)(5)(ii) for failure to “describe the nature of the documents,
       communications, or tangible things not produced or disclosed—and do so in a
       manner that . . . will enable other parties to assess the claim.” You have also failed to
       state whether any responsive materials are being withheld on the basis of your
       objection, as required. Fed. R. Civ. P. 34(b)(2)(C). Please provide all responsive
       documents.
      Interrogatory No. 4 – Page 2 of your amended complaint claims that regulations
       and zoning requirements apply generally to monuments on the state capitol grounds.
       This interrogatory simply asks you to identify the regulations and zoning
       requirements that the Amended Complaint is referring to. You provide no response
       other than to claim work-product and attorney-client privilege. But the answer to this
       interrogatory plainly does not implicate the work-product doctrine or attorney-client
       privilege. Further, your objection on privilege grounds is deficient under Fed. R. Civ.
       P. 26(b)(5)(ii) for failure to “describe the nature of the documents, communications,
       or tangible things not produced or disclosed—and do so in a manner that . . . will
       enable other parties to assess the claim.” Please provide all responsive information.
      RFP No. 6 – This RFP requests that you produce a copy of all documents and
       electronically stored information identified in sections 2 and 3 of your initial
       disclosures. Although your initial disclosures contain sections numbered as “2.” and
       “3.”, you have responded that you are unable to understand what information this
       RFP is seeking. This request plainly seeks a copy of the documents and electronically
       stored information identified in the section of your initial disclosures under the bold
       headings “2. Documents” and “3. Damages.” Further, you object that “[t]o the
       extent Defendant seeks copies of emails between TST and members of the General
       Assembly and Kelly Boyd,” this request is unduly burdensome because the State has
       these emails in its possession,” and “all of the information sought is already in the
       possession of the State: either because the documents were produced previously
        Case 4:18-cv-00342-KGB Document 93-3 Filed 12/02/19 Page 3 of 12
Page 3 of 12


       throughout discovery or because the State directly created or received the documents
       in question.” But these objections treat “the State” as a monolithic entity without
       distinguishing among different State entities. The Secretary of State is a different
       entity from the General Assembly, and it does not possess copies of emails that were
       sent between the Satanic Temple and members of the General Assembly. You have
       also failed to state whether any responsive materials are being withheld on the basis
       of your objection, as required. Fed. R. Civ. P. 34(b)(2)(C). Please provide all
       responsive documents.
      RFP No. 7 – You refer to email correspondence in paragraphs 31 to 34 of your
       Proposed Second Amended Complaint in Intervention. This RFP requests that you
       produce copies of that email correspondence. You object that this request is unduly
       burdensome because “[t]he State, being the custodian of General Assembly email
       accounts, already has the emails in its possession.” But this objection treats “the
       State” as a monolithic entity without distinguishing among different State entities.
       The Secretary of State is a different entity from the General Assembly, and it does
       not possess copies of emails that were sent between the Satanic Temple and members
       of the General Assembly. You have also failed to state whether any responsive
       materials are being withheld on the basis of your objection, as required. Fed. R. Civ.
       P. 34(b)(2)(C). Please provide all responsive documents.

Interrogatories and RFPs to the Satanic Temple

      Interrogatory No. 1 – This interrogatory seeks basic information concerning the
       corporate nature, history, and officers of the Satanic Temple. You have refused to
       provide anything other than the full legal name of the Satanic Temple, which you
       state “on information and belief” as “United Federation of Churches, LLC.” You
       have stated a generic objection on grounds of relevance and proportionality, without
       providing any specific reason for your objection. This is improper under Eastern
       District of Arkansas Local Rule 33.1(b), which provides, in part, “It is not sufficient
       to state that the interrogatory or request is burdensome, improper, or not relevant.
       The ground or grounds for the objection must be stated with particularity.” See Fed.
       R. Civ. P. 33(b)(4) (“The grounds for objecting to an interrogatory must be stated
       with specificity.”). The information requested in this interrogatory is plainly relevant
       and proportional to the needs of the case. Please provide all responsive information.
      RFP No. 1 – This RFP requests copies of all current and former articles of
       incorporation and analogous documents. You have stated a generic objection on
       grounds of relevance and proportionality, without providing any specific reason for
       your objection. This is improper. Fed. R. Civ. P. 34(b)(2)(B) (“[T]he response must .
       . . state with specificity the grounds for objecting to the request.”); Eastern District of
       Arkansas Local Rule 33.1(b) (“It is not sufficient to state that the interrogatory or
       request is burdensome, improper, or not relevant. The ground or grounds for the
       objection must be stated with particularity.”). The information requested in this
        Case 4:18-cv-00342-KGB Document 93-3 Filed 12/02/19 Page 4 of 12
Page 4 of 12


       interrogatory is plainly relevant and proportional to the needs of the case. You have
       also failed to state whether any responsive materials are being withheld on the basis
       of your objection, as required. Fed. R. Civ. P. 34(b)(2)(C). Please provide all
       responsive documents.
      Interrogatory No. 2 – This interrogatory seeks information concerning persons and
       entities in whose names various websites have been registered and who has
       produced, published, or maintained content on those websites. You have stated a
       generic objection on grounds of relevance and proportionality, without providing any
       specific reason for your objection. This is improper under Eastern District of
       Arkansas Local Rule 33.1(b), which provides, in part, “It is not sufficient to state that
       the interrogatory or request is burdensome, improper, or not relevant. The ground or
       grounds for the objection must be stated with particularity.” See Fed. R. Civ. P.
       33(b)(4) (“The grounds for objecting to an interrogatory must be stated with
       specificity.”). The information requested in this interrogatory is plainly relevant and
       proportional to the needs of the case. You also object that the request is unduly
       burdensome on the grounds that domain registrations are a matter of public record.
       But these websites have been registered in such a way as to mask the true person or
       entity registering the domain, and in any case former registrations are not publicly
       available. Please provide all responsive information.
      RFP No. 2 – This interrogatory seeks copies of the Satanic Temple’s budgets for
       recent years. You have stated a generic objection on grounds of relevance and
       proportionality, without providing any specific reason for your objection. This is
       improper. Fed. R. Civ. P. 34(b)(2)(B) (“[T]he response must . . . state with specificity
       the grounds for objecting to the request.”); Eastern District of Arkansas Local Rule
       33.1(b) (“It is not sufficient to state that the interrogatory or request is burdensome,
       improper, or not relevant. The ground or grounds for the objection must be stated
       with particularity.”). The information requested in this interrogatory is plainly
       relevant and proportional to the needs of the case in part because the Satanic Temple
       claims to be a legitimate religious organization, and the Defendant is aware of
       information that it is rather a self-promotional scheme for certain individuals. You
       have also failed to state whether any responsive materials are being withheld on the
       basis of your objection, as required. Fed. R. Civ. P. 34(b)(2)(C). Please provide all
       responsive documents.
      RFP No. 3 – This interrogatory seeks copies of the Satanic Temple’s state and
       federal tax returns for recent years. You have stated a generic objection on grounds
       of relevance and proportionality, without providing any specific reason for your
       objection. This is improper. Fed. R. Civ. P. 34(b)(2)(B) (“[T]he response must . . .
       state with specificity the grounds for objecting to the request.”); Eastern District of
       Arkansas Local Rule 33.1(b) (“It is not sufficient to state that the interrogatory or
       request is burdensome, improper, or not relevant. The ground or grounds for the
       objection must be stated with particularity.”). The information requested in this
        Case 4:18-cv-00342-KGB Document 93-3 Filed 12/02/19 Page 5 of 12
Page 5 of 12


       interrogatory is plainly relevant and proportional to the needs of the case in part
       because the Satanic Temple has put its tax status in issue. You have also failed to
       state whether any responsive materials are being withheld on the basis of your
       objection, as required. Fed. R. Civ. P. 34(b)(2)(C). Please provide all responsive
       documents.
      Interrogatory No. 3 and RFP No. 4 – This interrogatory and RFP seeks information
       and documents concerning the Satanic Temple’s tax status, and requests
       identification of any records recognizing the Satanic Temple as a “church” or
       religious organization. You have stated a generic objection on grounds of relevance
       and proportionality, without providing any specific reason for your objection. This is
       improper under Eastern District of Arkansas Local Rule 33.1(b), which provides, in
       part, “It is not sufficient to state that the interrogatory or request is burdensome,
       improper, or not relevant. The ground or grounds for the objection must be stated
       with particularity.” See Fed. R. Civ. P. 33(b)(4) (“The grounds for objecting to an
       interrogatory must be stated with specificity.”); Fed. R. Civ. P. 34(b)(2)(B) (“[T]he
       response must . . . state with specificity the grounds for objecting to the request.”).
       The information requested in this interrogatory and the documents requested in this
       RFP are plainly relevant and proportional to the needs of the case in part because the
       Satanic Temple claims to be a tax exempt church or other religious organization.
       You have also failed to state whether any responsive materials are being withheld on
       the basis of your objection, as required. Fed. R. Civ. P. 34(b)(2)(C). Please provide
       all responsive information and documents.
      Interrogatory No. 4 – This interrogatory requests information concerning persons or
       entities who have received proceeds from purchases made through various websites
       associated with the Satanic Temple. You have stated a generic objection on grounds
       of relevance and proportionality, without providing any specific reason for your
       objection. This is improper under Eastern District of Arkansas Local Rule 33.1(b),
       which provides, in part, “It is not sufficient to state that the interrogatory or request
       is burdensome, improper, or not relevant. The ground or grounds for the objection
       must be stated with particularity.” See Fed. R. Civ. P. 33(b)(4) (“The grounds for
       objecting to an interrogatory must be stated with specificity.”). The information
       requested in this interrogatory is plainly relevant and proportional to the needs of the
       case in part because the Satanic Temple claims to be a legitimate religious
       organization and the Defendant is aware of information that it is rather a self-
       promotional scheme for certain individuals. Please provide all responsive
       information.
      Interrogatories No. 5 and 6 and RFPs No. 5 and 6 – These interrogatories and these
       RFPs request information and documents concerning persons or entities who
       received the proceeds when contributions were made through a website that
       ostensibly raised money to transport the Baphomet statute to Arkansas. You have
       stated a generic objection on grounds of relevance and proportionality, without
        Case 4:18-cv-00342-KGB Document 93-3 Filed 12/02/19 Page 6 of 12
Page 6 of 12


       providing any specific reason for your objection. This is improper under Eastern
       District of Arkansas Local Rule 33.1(b), which provides, in part, “It is not sufficient
       to state that the interrogatory or request is burdensome, improper, or not relevant.
       The ground or grounds for the objection must be stated with particularity.” See Fed.
       R. Civ. P. 33(b)(4) (“The grounds for objecting to an interrogatory must be stated
       with specificity.”); Fed. R. Civ. P. 34(b)(2)(B) (“[T]he response must . . . state with
       specificity the grounds for objecting to the request.”). The information requested in
       these interrogatories and the documents requested in these RFPs are plainly relevant
       and proportional to the needs of the case, in part because the Satanic Temple claims
       to be a legitimate religious organization and the Defendant is aware of information
       that it is rather a self-promotional scheme for certain individuals. You have also
       failed to state whether any responsive materials are being withheld on the basis of
       your objection, as required. Fed. R. Civ. P. 34(b)(2)(C). Please provide all responsive
       information and documents.
      Interrogatories No. 7 and No. 8 and RFPs No. 7 – These interrogatories and this
       RFP request information and documents concerning the ownership, design, and
       modifications of the Baphomet monument. You have stated a generic objection on
       grounds of relevance and proportionality, without providing any specific reason for
       your objection. This is improper under Eastern District of Arkansas Local Rule
       33.1(b), which provides, in part, “It is not sufficient to state that the interrogatory or
       request is burdensome, improper, or not relevant. The ground or grounds for the
       objection must be stated with particularity.” See Fed. R. Civ. P. 33(b)(4) (“The
       grounds for objecting to an interrogatory must be stated with specificity.”); Fed. R.
       Civ. P. 34(b)(2)(B) (“[T]he response must . . . state with specificity the grounds for
       objecting to the request.”). The information requested in these interrogatories and the
       documents requested in these RFPs are plainly relevant and proportional to the
       needs of the case, in part because the Satanic Temple must own the Baphomet
       monument in order to be in any position to donate it for placement on the Arkansas
       State Capitol grounds and in part because the design and medication of any
       monument placed on the Arkansas State Capitol grounds is a matter of obvious
       concern. You have also failed to state whether any responsive materials are being
       withheld on the basis of your objection, as required. Fed. R. Civ. P. 34(b)(2)(C).
       Please provide all responsive information and documents.
      RFP No. 8 – This interrogatory seeks copies of all videos and photographs related to
       the Satanic Temple’s past efforts, including the Rally for Rick Scott, the “pink mass,”
       the installation of the second Ten Commandments monument on the Arkansas State
       Capitol grounds, and the “rally for religious liberty.” You have stated a generic
       objection on grounds of relevance and proportionality, without providing any
       specific reason for your objection. This is improper. Fed. R. Civ. P. 34(b)(2)(B)
       (“[T]he response must . . . state with specificity the grounds for objecting to the
       request.”); Eastern District of Arkansas Local Rule 33.1(b) (“It is not sufficient to
        Case 4:18-cv-00342-KGB Document 93-3 Filed 12/02/19 Page 7 of 12
Page 7 of 12


       state that the interrogatory or request is burdensome, improper, or not relevant. The
       ground or grounds for the objection must be stated with particularity.”). The items
       requested in this RFP are plainly relevant and proportional to the needs of the case,
       in part because the Satanic Temple claims to be a legitimate religious organization
       and the Defendant is aware of information that its past efforts are not consistent with
       that claim. You have also failed to state whether any responsive materials are being
       withheld on the basis of your objection, as required. Fed. R. Civ. P. 34(b)(2)(C).
       Please provide all responsive items.
      RFP No. 9 – This interrogatory seeks copies of all videos or promotional material
       created or used to publicize or promote the After School Satan Club. You have
       stated a generic objection on grounds of relevance and proportionality, without
       providing any specific reason for your objection. This is improper. Fed. R. Civ. P.
       34(b)(2)(B) (“[T]he response must . . . state with specificity the grounds for objecting
       to the request.”); Eastern District of Arkansas Local Rule 33.1(b) (“It is not sufficient
       to state that the interrogatory or request is burdensome, improper, or not relevant.
       The ground or grounds for the objection must be stated with particularity.”). The
       items requested in this RFP are plainly relevant and proportional to the needs of the
       case, in part because the Satanic Temple claims to be a legitimate religious
       organization and the Defendant is aware of information that efforts concerning the
       After School Satan Club are not consistent with that claim. You have also failed to
       state whether any responsive materials are being withheld on the basis of your
       objection, as required. Fed. R. Civ. P. 34(b)(2)(C). Please provide all responsive
       items.
      Interrogatory No. 9 – This interrogatory seeks information concerning financial
       relationships between the Satanic Temple and various individuals and entities. You
       have stated a generic objection on grounds of relevance and proportionality, without
       providing any specific reason for your objection. This is improper under Eastern
       District of Arkansas Local Rule 33.1(b), which provides, in part, “It is not sufficient
       to state that the interrogatory or request is burdensome, improper, or not relevant.
       The ground or grounds for the objection must be stated with particularity.” See Fed.
       R. Civ. P. 33(b)(4) (“The grounds for objecting to an interrogatory must be stated
       with specificity.”). The information requested in this interrogatory is plainly relevant
       and proportional to the needs of the case, in part because the Satanic Temple claims
       to be a legitimate religious organization and the Defendant is aware of information
       that it is rather a self-promotional scheme for certain individuals. Please provide all
       responsive information.
      Interrogatory No. 10 – This interrogatory seeks basic information concerning other
       litigation to which the Satanic Temple has been a party. You have stated a generic
       objection on grounds of relevance, proportionality, and undue burden, without
       providing any specific reason for your objection. This is improper under Eastern
       District of Arkansas Local Rule 33.1(b), which provides, in part, “It is not sufficient
        Case 4:18-cv-00342-KGB Document 93-3 Filed 12/02/19 Page 8 of 12
Page 8 of 12


       to state that the interrogatory or request is burdensome, improper, or not relevant.
       The ground or grounds for the objection must be stated with particularity.” See Fed.
       R. Civ. P. 33(b)(4) (“The grounds for objecting to an interrogatory must be stated
       with specificity.”). The information requested in this interrogatory is plainly relevant
       and proportional to the needs of the case, in part because the Satanic Temple claims
       to be a legitimate religious organization and the Defendant is aware of information
       that it is rather a self-promotional scheme for certain individuals. Please provide all
       responsive information.

Interrogatories and RFPs to Doug Misicko

      Interrogatory No. 3 – This interrogatory seeks basic information concerning lawsuits
       or other legal proceedings in which you have been involved. You have stated a
       generic objection on grounds of relevance and proportionality, without providing any
       specific reason for your objection. This is improper under Eastern District of
       Arkansas Local Rule 33.1(b), which provides, in part, “It is not sufficient to state that
       the interrogatory or request is burdensome, improper, or not relevant. The ground or
       grounds for the objection must be stated with particularity.” See Fed. R. Civ. P.
       33(b)(4) (“The grounds for objecting to an interrogatory must be stated with
       specificity.”). The information requested in this interrogatory is plainly relevant and
       proportional to the needs of the case because you are a party to this case. Further,
       you object on the basis that providing this information is an undue burden because
       “it is all publicly available.” But the purported public availability of this information
       is no excuse for failing to provide it. Unlike the Defendant, you know the
       jurisdictions in which you have been involved in legal proceedings. You further
       object that the interrogatory exceeds the 25-interrogatory limit of Fed. R. Civ. P. 33.
       This is incorrect, as this is only Interrogatory No. 3 addressed to you, Douglas
       Misicko. Please provide all responsive information.
      Interrogatories No. 4 and 5 – These interrogatories seeks identification of everything
       that the Ten Commandments Monument Display Act, the Ten Commandments
       monument, or any state official or entity has coerced you to do, or any burden or
       benefit that have been made conditional upon your obedience to the Ten
       Commandments. You have stated a generic objections on grounds of relevance and
       proportionality, without providing any specific reason for your objections. This is
       improper under Eastern District of Arkansas Local Rule 33.1(b), which provides, in
       part, “It is not sufficient to state that the interrogatory or request is burdensome,
       improper, or not relevant. The ground or grounds for the objection must be stated
       with particularity.” See Fed. R. Civ. P. 33(b)(4) (“The grounds for objecting to an
       interrogatory must be stated with specificity.”). The information requested in this
       interrogatory is plainly relevant and proportional to the needs of the case because
       you have claimed that the placement of the Ten Commandments monument on the
       Arkansas State Capitol grounds has injured you in some way. Further, you object on
        Case 4:18-cv-00342-KGB Document 93-3 Filed 12/02/19 Page 9 of 12
Page 9 of 12


       the basis that providing this information is an undue burden because “it is all publicly
       available.” But this information is not publicly available. You further object that
       these interrogatories exceed the 25-interrogatory limit of Fed. R. Civ. P. 33. This is
       incorrect, as these are only Interrogatories No. 4 and No. 5 addressed to you,
       Douglas Misicko. Please provide all responsive information.
      Interrogatory No. 6 and RFP No. 3 – This interrogatory seeks identification of any
       treatment, therapy, or counseling that you have sought as a result of the Ten
       Commandments Monument Display Act, the Ten Commandments monument, or
       any action or omission of any Arkansas state official. You have stated a generic
       objection on grounds of relevance and proportionality, without providing any
       specific reason for your objection. This is improper under Eastern District of
       Arkansas Local Rule 33.1(b), which provides, in part, “It is not sufficient to state that
       the interrogatory or request is burdensome, improper, or not relevant. The ground or
       grounds for the objection must be stated with particularity.” See Fed. R. Civ. P.
       33(b)(4) (“The grounds for objecting to an interrogatory must be stated with
       specificity.”); Fed. R. Civ. P. 34(b)(2)(B) (“[T]he response must . . . state with
       specificity the grounds for objecting to the request.”). The information requested in
       this interrogatory is plainly relevant and proportional to the needs of the case because
       you claim to have been offended and suffered injury by the placement of the Ten
       Commandments monument on the Arkansas State Capitol grounds. You further
       object that the interrogatory exceeds the 25-interrogatory limit of Fed. R. Civ. P. 33.
       This is incorrect, as this is only Interrogatory No. 6 addressed to you, Douglas
       Misicko. Please provide all responsive information. As for RFP No. 3, you have not
       attempted to provide a response of any kind or produce any documents in response
       thereto. You have also failed to state whether any responsive materials are being
       withheld on the basis of your objection, as required. Fed. R. Civ. P. 34(b)(2)(C).
       Please provide all responsive information and documents.

Interrogatories and RFPs to Erika Robbins

      Interrogatory No. 1 – This interrogatory seeks information concerning your visits to
       the Arkansas State Capitol grounds. You have stated a generic objection on grounds
       of undue burden, without providing any specific reason for your objection. This is
       improper under Eastern District of Arkansas Local Rule 33.1(b), which provides, in
       part, “It is not sufficient to state that the interrogatory or request is burdensome,
       improper, or not relevant. The ground or grounds for the objection must be stated
       with particularity.” See Fed. R. Civ. P. 33(b)(4) (“The grounds for objecting to an
       interrogatory must be stated with specificity.”). The information requested in this
       interrogatory is plainly not unduly burdensome. You further object that the
       interrogatory exceeds the 25-interrogatory limit of Fed. R. Civ. P. 33. This is
       incorrect, as this is only Interrogatory No. 1 addressed to you, Erika Robbins. Please
       provide all responsive information.
       Case 4:18-cv-00342-KGB Document 93-3 Filed 12/02/19 Page 10 of 12
Page 10 of 12


      Interrogatory No. 2 – This interrogatory seeks basic information concerning your
       identity and social media presence. You have stated a generic objection on grounds
       of relevance, proportionality, and undue burden, without providing any specific
       reason for your objection. This is improper under Eastern District of Arkansas Local
       Rule 33.1(b), which provides, in part, “It is not sufficient to state that the
       interrogatory or request is burdensome, improper, or not relevant. The ground or
       grounds for the objection must be stated with particularity.” See Fed. R. Civ. P.
       33(b)(4) (“The grounds for objecting to an interrogatory must be stated with
       specificity.”). The information requested in this interrogatory is plainly not
       irrelevant, disproportionate, or unduly burdensome. You further object that the
       interrogatory exceeds the 25-interrogatory limit of Fed. R. Civ. P. 33. This is
       incorrect, as this is only Interrogatory No. 2 addressed to you, Erika Robbins. Please
       provide all responsive information.
      RFP No. 1 – This RFP seeks copies of items containing information pertaining to
       your opinions on or engagement with the Ten Commandments monument and
       related matters. You have stated a generic objection on grounds of undue burden,
       without providing any specific reason for your objection. This is improper. Fed. R.
       Civ. P. 34(b)(2)(B) (“[T]he response must . . . state with specificity the grounds for
       objecting to the request”); Eastern District of Arkansas Local Rule 33.1(b) (“It is not
       sufficient to state that the interrogatory or request is burdensome, improper, or not
       relevant. The ground or grounds for the objection must be stated with
       particularity.”). You have also failed to state whether any responsive materials are
       being withheld on the basis of your objection, as required. Fed. R. Civ. P.
       34(b)(2)(C). Please provide all responsive documents.
      Interrogatories No. 4 and 5 – These interrogatories seek identification of everything
       that the Ten Commandments Monument Display Act, the Ten Commandments
       monument, or any state official or entity has coerced you to do, or any burden or
       benefit that have been made conditional upon your obedience to the Ten
       Commandments. You have stated a generic objections on grounds of undue burden,
       without providing any specific reason for your objection. This is improper under
       Eastern District of Arkansas Local Rule 33.1(b), which provides, in part, “It is not
       sufficient to state that the interrogatory or request is burdensome, improper, or not
       relevant. The ground or grounds for the objection must be stated with particularity.”
       See Fed. R. Civ. P. 33(b)(4) (“The grounds for objecting to an interrogatory must be
       stated with specificity.”). The information requested in this interrogatory is plainly
       not unduly burdensome because you have claimed that the placement of the Ten
       Commandments monument on the Arkansas State Capitol grounds has injured you
       in some way. Further, you object on the basis that providing this information is an
       undue burden because “it is all publicly available.” But this information is not
       publicly available. You further object that the interrogatory exceeds the 25-
       interrogatory limit of Fed. R. Civ. P. 33. This is incorrect, as these are only
       Case 4:18-cv-00342-KGB Document 93-3 Filed 12/02/19 Page 11 of 12
Page 11 of 12


       Interrogatories No. 4 and 5 addressed to you, Erika Robbins. Please provide all
       responsive information.
      Interrogatory No. 6 and RFP No. 3 – This interrogatory and RFP seeks information
       and documents pertaining to any treatment that you may have sought as a result of
       the Ten Commandments and related matters. You have stated a generic objection on
       grounds of relevance and proportionality, without providing any specific reason for
       your objection. This is improper under Eastern District of Arkansas Local Rule
       33.1(b), which provides, in part, “It is not sufficient to state that the interrogatory or
       request is burdensome, improper, or not relevant. The ground or grounds for the
       objection must be stated with particularity.” See Fed. R. Civ. P. 33(b)(4) (“The
       grounds for objecting to an interrogatory must be stated with specificity.”). The
       information requested in this interrogatory is plainly not irrelevant or
       disproportionate, as you claim to have been offended and injured by the Ten
       Commandments monument. You further object that the interrogatory exceeds the
       25-interrogatory limit of Fed. R. Civ. P. 33. This is incorrect, as this is only
       Interrogatory No.6 addressed to you, Erika Robbins. You further object on grounds
       of psychotherapist-patient privilege. But your objection on privilege grounds is
       deficient under Fed. R. Civ. P. 26(b)(5)(ii) for failure to “describe the nature of the
       documents, communications, or tangible things not produced or disclosed—and do
       so in a manner that . . . will enable other parties to assess the claim.” You have also
       failed to state whether any responsive materials are being withheld on the basis of
       your objection, as required. Fed. R. Civ. P. 34(b)(2)(C). Please provide all responsive
       information and documents.
      Interrogatory No. 7 – This interrogatory seeks identification of the requirements that
       you had to meet to become a member of the Satanic Temple. You have stated a
       generic objection on grounds of vagueness and undue burden, without providing any
       specific reason for your objection. This is improper under Eastern District of
       Arkansas Local Rule 33.1(b), which provides, in part, “It is not sufficient to state that
       the interrogatory or request is burdensome, improper, or not relevant. The ground or
       grounds for the objection must be stated with particularity.” See Fed. R. Civ. P.
       33(b)(4) (“The grounds for objecting to an interrogatory must be stated with
       specificity.”). The information requested in this interrogatory is plainly not vague or
       unduly burdensome, as you have personal knowledge of the requirements that you
       had to meet to become a member of the Satanic Temple. Please provide all
       responsive information.

                                            Respectfully,


                                            Michael A. Cantrell
                                            Assistant Solicitor General
       Case 4:18-cv-00342-KGB Document 93-3 Filed 12/02/19 Page 12 of 12
Page 12 of 12


                               CERTIFICATE OF SERVICE

       I, Michael A. Cantrell, certify that on July 26, 2019, I served the foregoing on the
following:

Matthew Kezhaya
matt@kezhaya.law

                                              /s/ Michael A. Cantrell
                                              Michael A. Cantrell
